Case 2:22-cv-00188-HYJ-RSK   ECF No. 75-4, PageID.4232   Filed 05/15/24   Page 1
                                    of 42




                             Exhibit C
Case 2:22-cv-00188-HYJ-RSK       ECF No. 75-4, PageID.4233     Filed 05/15/24     Page 2
                                        of 42



                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN


JEFFREY SCHREIBER, RICHARD
COLONY, KAY VREDEVELD, and                      Case No. 22-cv-00188-HYJ-RSK
MICHAEL SURNOW, individually and on
behalf of all others similarly situated,        Hon. Hala Y. Jarbou

                                                Mag. Judge Ray S. Kent
                   Plaintiffs,


      v.

MAYO FOUNDATION FOR MEDICAL
EDUCATION AND RESEARCH,

                   Defendant.

              DECLARATION OF PHILIP L. FRAIETTA
       IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
         FINAL APPROVAL OF CLASS ACTION SETTLEMENT

I, Philip L. Fraietta, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.     I am a partner at Bursor & Fisher, P.A., and one of Class Counsel in

this action. I am an attorney at law licensed to practice in the States of Michigan,

New York, New Jersey, and Illinois, and I am a member of the bar of this Court. I

have personal knowledge of the facts set forth in this declaration and, if called as a

witness, I could and would testify competently thereto.

      2.     I make this declaration in support of Plaintiffs’ Unopposed Motion for

Final Approval of Class Action Settlement, filed herewith.


                                          1
Case 2:22-cv-00188-HYJ-RSK       ECF No. 75-4, PageID.4234      Filed 05/15/24     Page 3
                                        of 42



      3.     I hereby incorporate Paragraphs 3-42 of the Declaration of E. Powell

Miller in support of Plaintiffs’ Unopposed Motion for Final Approval of Class

Action Settlement and Paragraphs 2-51 of the Declaration of Frank S. Hedin in

support of Plaintiffs’ Unopposed Motion for Final Approval of Class Action

Settlement, filed herewith, as if fully stated herein.

               RELEVANT PPPA LITIGATION EXPERIENCE

      4.     Beginning in 2015, my firm and my co-counsel (together, “Class

Counsel”) began investigating and litigating cases against publishers for alleged

violations of the Michigan Preservation of Personal Privacy Act (the “PPPA”).

The theory of liability was novel. Although a few other cases had been filed

against publishers, none had progressed through class certification or summary

judgment.

      5.     Despite the uncertainty, Class Counsel took on the cases and litigated

numerous issues of first impression under the statute, including, but not limited to:

(i) whether an alleged violation of the statute was sufficient to confer Article III

standing; (ii) whether the statute violated the First Amendment on its face or as

applied; (iii) whether plaintiffs could pursue class action claims for statutory

damages in federal court under Fed. R. Civ. P. 23 in light of MCR 3.501(A)(5);

and (iv) whether a 2016 amendment to the statute applied retroactively. See, e.g.,

Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427 (S.D.N.Y. 2016); Boelter v.


                                           2
Case 2:22-cv-00188-HYJ-RSK      ECF No. 75-4, PageID.4235       Filed 05/15/24    Page 4
                                       of 42



Advance Mag. Publishers Inc., 210 F. Supp. 3d 579 (S.D.N.Y. 2016).

      6.     Thereafter, Class Counsel conducted vigorous discovery, which

included in-depth research into several data industry practices, including data

appending and data cooperatives, and ultimately third-party discovery from those

companies. Through that discovery, my firm and my co-counsel amassed a wealth

of institutional knowledge regarding the data industry.

      7.     Next, Class Counsel won a motion for summary judgment for the

named plaintiff in the Hearst case. See Boelter v. Hearst Commc’ns, Inc., 269 F.

Supp. 3d 172 (S.D.N.Y. 2017). The Hearst summary judgment victory provided a

roadmap to liability for publishers based on the aforementioned data industry

practices.

      8.     Then, after the Michigan legislature amended the PPPA, effective July

31, 2016, to make “actual damages” a prerequisite to stating a claim and remove a

prevailing plaintiff’s entitlement to statutory damages, Class Counsel were

successful in arguing that the amended version of the PPPA does not apply to

claims that accrued prior to its effective date of July 31, 2016. See Horton v.

GameStop, Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich. 2018) (holding amended

version of the PPPA does not apply to claims that accrued prior to its effective date

of July 31, 2016).

      9.     Finally, throughout all of that prior litigation, it was assumed that


                                          3
Case 2:22-cv-00188-HYJ-RSK      ECF No. 75-4, PageID.4236       Filed 05/15/24   Page 5
                                       of 42



PPPA cases were governed by a 3-year statute of limitations. See, e.g., Hearst,

269 F. Supp. 3d at 172; Edwards v. Hearst Commc’ns, Inc., 2016 WL 6651563

(S.D.N.Y. Nov. 9, 2016). Nonetheless, Class Counsel later recognized that the

Sixth Circuit’s opinion in Palmer Park Square, LLC v. Scottsdale Insurance

Company, 878 F.3d 530 (6th Cir. 2017), and relevant Michigan authority,

established a basis for applying a six-year limitation period to PPPA claims, and

thus provided an avenue for class recovery under the original PPPA even as long

as six years after a defendant’s pre-July 31, 2016 disclosure practices.

      10.    After conducting extensive pre-suit investigative analysis, Class

Counsel initiated litigation with the six-year limitation period as its foundation.

      11.    Through Class Counsel’s advocacy, Judge Ludington issued a first-of-

its-kind published opinion, finding that a six-year statute of limitations applies to

PPPA claims. See Pratt v. KSE Sportsman Media, Inc., 586 F. Supp. 3d 666, 675

(E.D. Mich. 2022).

      12.    In sum, this Settlement was only made possible by Class Counsel’s

exemplary record litigating other PPPA cases against other publisher defendants for

nearly a decade. As such, the excellent result we obtained in this case, and the

efficiency with which we obtained it, would not have been possible without the

significant investments of time and other resources that we made towards the

prosecution of the PPPA actions outlined above over the better part of the past


                                           4
Case 2:22-cv-00188-HYJ-RSK      ECF No. 75-4, PageID.4237      Filed 05/15/24   Page 6
                                       of 42



decade, which provided us with the knowledge, experience, and well-developed

body of PPPA jurisprudence necessary to achieve this Settlement.

        BURSOR & FISHER’S EXPERIENCE AND EXPENDITURES

       13.     Attached hereto as Exhibit 1 is a current firm resume for Bursor &

Fisher, P.A.

       14.     As aforementioned, my firm, Bursor & Fisher, P.A., has significant

experience in litigating class actions of similar size, scope, and complexity to the

instant action. (See Ex. 1; Firm Resume of Bursor & Fisher, P.A.). We were

 recently appointed Class Counsel in Strano v. Kiplinger Washington Editors, Inc.,

 Case No. 21-cv-12987-TLL (E.D. Mich.), a case brought under the PPPA wherein

 we reached a class-wide settlement for approximately $6.845 million where we

 were awarded 35% in attorneys’ fees, costs, and expenses, and in Moeller v. The

 Week Publications, Inc., Case No. 22-cv-10666-TLL (E.D. Mich.), a case brought

 under the PPPA wherein we reached a class-wide settlement for approximately $5

 million where we were awarded 35% in attorneys’ fees, costs, and expenses.

 Additionally, we were appointed as Class Counsel in another PPPA case – Loftus

 v. Outside Integrated Media, LLC, Case No. 2:21-cv-11809 (E.D. Mich.) – in

 which the Honorable Mark A. Goldsmith approved our request for 35% of the

 settlement fund in attorneys’ fees, costs, and expenses, while commending our

 work and noting that “the class has benefited in a concrete way” from the “very


                                          5
Case 2:22-cv-00188-HYJ-RSK     ECF No. 75-4, PageID.4238      Filed 05/15/24     Page 7
                                      of 42



effective work” done by Plaintiff’s counsel. See August 9, 2022, Hearing

Transcript at 7:9-8:2 (approving Class Counsel’s attorneys’ fees request of 35

percent “where the lawyers did produce significant results for the class in very

short order”). See PageID.3744-45. Similarly, in Kain v. The Economist

Newspaper NA, Inc., Case No. 4:21-cv-11807-MFL-CI (E.D. Mich.), as Class

Counsel in another PPPA case, we were awarded 35% of the $9.5 million

settlement fund in attorneys’ fees, costs, and expenses.

       15.   Moreover, we were Class Counsel in Moeller v. American Media,

Inc., Case No. 16-cv-11367-JEL (E.D. Mich.), a case brought under the PPPA

wherein we reached a class-wide settlement for $7.6 million. We were also Class

Counsel in Kokoszki v. Playboy Enterprises, Inc., Case No. 19-cv-10302-BAF

(E.D. Mich.), a case brought under the PPPA wherein we reached a class-wide

settlement for $3.85 million. We were also Class Counsel in Taylor v. Trusted

Media Brands, Inc., Case No. 16-cv-01812-KMK (S.D.N.Y.), a case brought under

the PPPA wherein we reached a class-wide settlement for $8.225 million. As

Class Counsel in Ruppel v. Consumers Union of United States, Inc., Case No. 16-

cv-02444-KMK (S.D.N.Y.), a case brought under the PPPA, we reached a class-

 wide settlement for $16.375 million. We were Class Counsel in Moeller v.

 Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-05671-NRB

 (S.D.N.Y.), a case brought under the PPPA wherein we reached a class-wide


                                          6
Case 2:22-cv-00188-HYJ-RSK      ECF No. 75-4, PageID.4239       Filed 05/15/24    Page 8
                                       of 42



settlement for $13.75 million. We were also Class Counsel in Edwards v. Hearst

Communications, Inc., Case No. 15-cv-09279-AT (S.D.N.Y.), a case brought

under the PPPA wherein we reached a class-wide settlement for $50 million.

      16.    Additionally, my firm has also been recognized by courts across the

country for its expertise in consumer class action lawsuits. (See Ex. 1); see also

Ebin v. Kangadis Food Inc., 297 F.R.D. 561, 566 (S.D.N.Y. Feb. 25, 2014)

(Rakoff, J.) (“Bursor & Fisher, P.A., are class action lawyers who have experience

litigating consumer claims. . . . The firm has been appointed class counsel in

dozens of cases in both federal and state courts, and has won multi-million dollar

verdicts or recoveries in five class action jury trials since 2008.”)1; In re Apple

Data Privacy Litigation, Case No. 22-cv-07069-EJD, ECF No. 104 (N.D. Cal. July

5, 2023) (appointing Bursor & Fisher, P.A. as class counsel to represent a putative

nationwide class of iPhone and iPad users who allegedly had their data collected

by Apple without consent).

      17.    Moreover, my firm has served as trial counsel for class action

plaintiffs in six jury trials and has won all six, with recoveries ranging from $21

million to $299 million.




1
 Bursor & Fisher has since won a sixth jury verdict in Perez v. Rash Curtis &
Associates, Case No. 4:16-cv-03396-YGR (N.D. Cal.), for $267 million.

                                           7
Case 2:22-cv-00188-HYJ-RSK    ECF No. 75-4, PageID.4240       Filed 05/15/24   Page 9
                                     of 42



      I declare under penalty of perjury that the above and foregoing is true and

accurate.

Executed this 15th day of May 2024 at New York, New York.

                                             /s Philip L. Fraietta
                                                Philip L. Fraietta




                                         8
Case 2:22-cv-00188-HYJ-RSK   ECF No. 75-4, PageID.4241   Filed 05/15/24   Page 10
                                     of 42




                             Exhibit 1
 Case 2:22-cv-00188-HYJ-RSK             ECF No. 75-4, PageID.4242            Filed 05/15/24      Page 11
                                                of 42




                                            www.bursor.com

701 BRICKELL AVENUE            1330 AVENUE OF THE AMERICAS                1990 NORTH CALIFORNIA BLVD.
   MIAMI, FL 33131                    NEW YORK, NY 10019                     WALNUT CREEK, CA 94596



                                           FIRM RESUME

          With offices in Florida, New York, and California, BURSOR & FISHER lawyers have
   represented both plaintiffs and defendants in state and federal courts throughout the country.

           The lawyers at our firm have an active civil trial practice, having won multi-million-
   dollar verdicts or recoveries in six of six class action jury trials since 2008. Our most recent
   class action trial victory came in May 2019 in Perez v. Rash Curtis & Associates, in which Mr.
   Bursor served as lead trial counsel and won a $267 million jury verdict against a debt collector
   found to have violated the Telephone Consumer Protection Act. During the pendency of the
   defendant’s appeal, the case settled for $75.6 million, the largest settlement in the history of the
   Telephone Consumer Protection Act.

           In August 2013 in Ayyad v. Sprint Spectrum L.P., in which Mr. Bursor served as lead trial
   counsel, we won a jury verdict defeating Sprint’s $1.06 billion counterclaim and securing the
   class’s recovery of more than $275 million in cash and debt relief.

           In Thomas v. Global Vision Products, Inc. (II), we obtained a $50 million jury verdict in
   favor of a certified class of 150,000 purchasers of the Avacor Hair Regrowth System. The legal
   trade publication VerdictSearch reported that this was the second largest jury verdict in
   California in 2009, and the largest in any class action.

          The lawyers at our firm have an active class action practice and have won numerous
   appointments as class counsel to represent millions of class members, including customers of
   Honda, Verizon Wireless, AT&T Wireless, Sprint, Haier America, and Michaels Stores as well
   as purchasers of Avacor™, Hydroxycut, and Sensa™ products. Bursor & Fisher lawyers have
   been court-appointed Class Counsel or Interim Class Counsel in:
                  1. O’Brien v. LG Electronics USA, Inc. (D.N.J. Dec. 16, 2010) to represent a
                     certified nationwide class of purchasers of LG French-door refrigerators,
                  2. Ramundo v. Michaels Stores, Inc. (N.D. Ill. June 8, 2011) to represent a
                     certified nationwide class of consumers who made in-store purchases at
                     Michaels Stores using a debit or credit card and had their private financial
                     information stolen as a result,
                  3. In re Haier Freezer Consumer Litig. (N.D. Cal. Aug. 17, 2011) to represent a
                     certified class of purchasers of mislabeled freezers from Haier America
                     Trading, LLC,
                  4. Rodriguez v. CitiMortgage, Inc. (S.D.N.Y. Nov. 14, 2011) to represent a
                     certified nationwide class of military personnel against CitiMortgage for
                     illegal foreclosures,
Case 2:22-cv-00188-HYJ-RSK      ECF No. 75-4, PageID.4243           Filed 05/15/24     Page 12
                                        of 42
                                                                                    PAGE 2


            5. Rossi v. The Procter & Gamble Co. (D.N.J. Jan. 31, 2012) to represent a
                certified nationwide class of purchasers of Crest Sensitivity Treatment &
                Protection toothpaste,
            6. Dzielak v. Whirlpool Corp. et al. (D.N.J. Feb. 21, 2012) to represent a
                proposed nationwide class of purchasers of mislabeled Maytag Centennial
                washing machines from Whirlpool Corp., Sears, and other retailers,
            7. In re Sensa Weight Loss Litig. (N.D. Cal. Mar. 2, 2012) to represent a certified
                nationwide class of purchasers of Sensa weight loss products,
            8. In re Sinus Buster Products Consumer Litig. (E.D.N.Y. Dec. 17, 2012) to
                represent a certified nationwide class of purchasers,
            9. Ebin v. Kangadis Food Inc. (S.D.N.Y. Feb. 25, 2014) to represent a certified
                nationwide class of purchasers of Capatriti 100% Pure Olive Oil,
            10. Forcellati v. Hyland’s, Inc. (C.D. Cal. Apr. 9, 2014) to represent a certified
                nationwide class of purchasers of children’s homeopathic cold and flu
                remedies,
            11. Ebin v. Kangadis Family Management LLC, et al. (S.D.N.Y. Sept. 18, 2014)
                to represent a certified nationwide class of purchasers of Capatriti 100% Pure
                Olive Oil,
            12. In re Scotts EZ Seed Litig. (S.D.N.Y. Jan. 26, 2015) to represent a certified
                class of purchasers of Scotts Turf Builder EZ Seed,
            13. Dei Rossi v. Whirlpool Corp., et al. (E.D. Cal. Apr. 28, 2015) to represent a
                certified class of purchasers of mislabeled KitchenAid refrigerators from
                Whirlpool Corp., Best Buy, and other retailers,
            14. Hendricks v. StarKist Co. (N.D. Cal. July 23, 2015) to represent a certified
                nationwide class of purchasers of StarKist tuna products,
            15. In re NVIDIA GTX 970 Graphics Card Litig. (N.D. Cal. May 8, 2015) to
                represent a proposed nationwide class of purchasers of NVIDIA GTX 970
                graphics cards,
            16. Melgar v. Zicam LLC, et al. (E.D. Cal. March 30, 2016) to represent a
                certified ten-jurisdiction class of purchasers of Zicam Pre-Cold products,
            17. In re Trader Joe’s Tuna Litigation (C.D. Cal. December 21, 2016) to
                represent purchaser of allegedly underfilled Trader Joe’s canned tuna.
            18. In re Welspun Litigation (S.D.N.Y. January 26, 2017) to represent a proposed
                nationwide class of purchasers of Welspun Egyptian cotton bedding products,
            19. Retta v. Millennium Products, Inc. (C.D. Cal. January 31, 2017) to represent a
                certified nationwide class of Millennium kombucha beverages,
            20. Moeller v. American Media, Inc., (E.D. Mich. June 8, 2017) to represent a
                class of magazine subscribers under the Michigan Preservation of Personal
                Privacy Act,
            21. Hart v. BHH, LLC (S.D.N.Y. July 7, 2017) to represent a nationwide class of
                purchasers of Bell & Howell ultrasonic pest repellers,
            22. McMillion v. Rash Curtis & Associates (N.D. Cal. September 6, 2017) to
                represent a certified nationwide class of individuals who received calls from
                Rash Curtis & Associates,
Case 2:22-cv-00188-HYJ-RSK      ECF No. 75-4, PageID.4244           Filed 05/15/24      Page 13
                                        of 42
                                                                                    PAGE 3


            23. Lucero v. Solarcity Corp. (N.D. Cal. September 15, 2017) to represent a
                certified nationwide class of individuals who received telemarketing calls
                from Solarcity Corp.,
            24. Taylor v. Trusted Media Brands, Inc. (S.D.N.Y. Oct. 17, 2017) to represent a
                class of magazine subscribers under the Michigan Preservation of Personal
                Privacy Act,
            25. Gasser v. Kiss My Face, LLC (N.D. Cal. Oct. 23, 2017) to represent a
                proposed nationwide class of purchasers of cosmetic products,
            26. Gastelum v. Frontier California Inc. (S.F. Superior Court February 21, 2018)
                to represent a certified California class of Frontier landline telephone
                customers who were charged late fees,
            27. Williams v. Facebook, Inc. (N.D. Cal. June 26, 2018) to represent a proposed
                nationwide class of Facebook users for alleged privacy violations,
            28. Ruppel v. Consumers Union of United States, Inc. (S.D.N.Y. July 27, 2018) to
                represent a class of magazine subscribers under the Michigan Preservation of
                Personal Privacy Act,
            29. Bayol v. Health-Ade (N.D. Cal. August 23, 2018) to represent a proposed
                nationwide class of Health-Ade kombucha beverage purchasers,
            30. West v. California Service Bureau (N.D. Cal. September 12, 2018) to
                represent a certified nationwide class of individuals who received calls from
                California Service Bureau,
            31. Gregorio v. Premier Nutrition Corporation (S.D.N.Y. Sept. 14, 2018) to
                represent a nationwide class of purchasers of protein shake products,
            32. Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast (S.D.N.Y.
                Oct. 24, 2018) to represent a class of magazine subscribers under the
                Michigan Preservation of Personal Privacy Act,
            33. Bakov v. Consolidated World Travel Inc. d/b/a Holiday Cruise Line (N.D. Ill.
                Mar. 21, 2019) to represent a certified class of individuals who received calls
                from Holiday Cruise Line,
            34. Martinelli v. Johnson & Johnson (E.D. Cal. March 29, 2019) to represent a
                certified class of purchasers of Benecol spreads labeled with the
                representation “No Trans Fat,”
            35. Edwards v. Hearst Communications, Inc. (S.D.N.Y. April 24, 2019) to
                represent a class of magazine subscribers under the Michigan Preservation of
                Personal Privacy Act,
            36. Galvan v. Smashburger (C.D. Cal. June 25, 2019) to represent a proposed
                class of purchasers of Smashburger’s “Triple Double” burger,
            37. Kokoszki v. Playboy Enterprises, Inc. (E.D. Mich. Feb. 7, 2020) to represent a
                class of magazine subscribers under the Michigan Preservation of Personal
                Privacy Act,
            38. Russett v. The Northwestern Mutual Life Insurance Co. (S.D.N.Y. May 28,
                2020) to represent a class of insurance policyholders that were allegedly
                charged unlawful paper billing fees,
            39. In re: Metformin Marketing and Sales Practices Litigation (D.N.J. June 3,
                2020) to represent a proposed nationwide class of purchasers of generic
                diabetes medications that were contaminated with a cancer-causing
                carcinogen,
Case 2:22-cv-00188-HYJ-RSK      ECF No. 75-4, PageID.4245            Filed 05/15/24     Page 14
                                        of 42
                                                                                     PAGE 4


            40. Hill v. Spirit Airlines, Inc. (S.D. Fla. July 21, 2020) to represent a proposed
                nationwide class of passengers whose flights were cancelled by Spirit Airlines
                due to the novel coronavirus, COVID-19, and whose tickets were not
                refunded,
            41. Kramer v. Alterra Mountain Co. (D. Colo. July 31, 2020) to represent a
                proposed nationwide class of purchasers to recoup the unused value of their
                Ikon ski passes after Alterra suspended operations at its ski resorts due to the
                novel coronavirus, COVID-19,
            42. Qureshi v. American University (D.D.C. July 31, 2020) to represent a
                proposed nationwide class of students for tuition and fee refunds after their
                classes were moved online by American University due to the novel
                coronavirus, COVID-19,
            43. Hufford v. Maxim Inc. (S.D.N.Y. Aug. 13, 2020) to represent a class of
                magazine subscribers under the Michigan Preservation of Personal Privacy
                Act,
            44. Desai v. Carnegie Mellon University (W.D. Pa. Aug. 26, 2020) to represent a
                proposed nationwide class of students for tuition and fee refunds after their
                classes were moved online by Carnegie Mellon University due to the novel
                coronavirus, COVID-19,
            45. Heigl v. Waste Management of New York, LLC (E.D.N.Y. Aug. 27, 2020) to
                represent a class of waste collection customers that were allegedly charged
                unlawful paper billing fees,
            46. Stellato v. Hofstra University (E.D.N.Y. Sept. 18, 2020) to represent a
                proposed nationwide class of students for tuition and fee refunds after their
                classes were moved online by Hofstra University due to the novel
                coronavirus, COVID-19,
            47. Kaupelis v. Harbor Freight Tools USA, Inc. (C.D. Cal. Sept. 23, 2020), to
                represent consumers who purchased defective chainsaws,
            48. Soo v. Lorex Corporation (N.D. Cal. Sept. 23, 2020), to represent consumers
                whose security cameras were intentionally rendered non-functional by
                manufacturer,
            49. Miranda v. Golden Entertainment (NV), Inc. (D. Nev. Dec. 17, 2020), to
                represent consumers and employees whose personal information was exposed
                in a data breach,
            50. Benbow v. SmileDirectClub, Inc. (Cir. Ct. Cook Cnty. Feb. 4, 2021), to
                represent a certified nationwide class of individuals who received text
                messages from SmileDirectClub, in alleged violation of the Telephone
                Consumer Protection Act,
            51. Suren v. DSV Solutions, LLC (Cir. Ct. DuPage Cnty. Apr. 8, 2021), to
                represent a certified class of employees who used a fingerprint clock-in
                system, in alleged violation of the Illinois Biometric Information Privacy Act,
            52. De Lacour v. Colgate-Palmolive Co. (S.D.N.Y. Apr. 23, 2021), to represent a
                certified class of consumers who purchased allegedly “natural” Tom’s of
                Maine products,
            53. Wright v. Southern New Hampshire University (D.N.H. Apr. 26, 2021), to
                represent a certified nationwide class of students for tuition and fee refunds
                after their classes were moved online by Southern New Hampshire University
                due to the novel coronavirus, COVID-19,
Case 2:22-cv-00188-HYJ-RSK       ECF No. 75-4, PageID.4246            Filed 05/15/24      Page 15
                                         of 42
                                                                                      PAGE 5


            54. Sahlin v. Hospital Housekeeping Systems, LLC (Cir. Ct. Williamson Cnty.
                May 21, 2021), to represent a certified class of employees who used a
                fingerprint clock-in system, in alleged violation of the Illinois Biometric
                Information Privacy Act,
            55. Landreth v. Verano Holdings LLC, et al. (Cir. Ct. Cook Cnty. June 2, 2021),
                to represent a certified class of employees who used a fingerprint clock-in
                system, in alleged violation of the Illinois Biometric Information Privacy Act.
            56. Rocchio v. Rutgers, The State University of New Jersey, (Sup. Ct., Middlesex
                Cnty. October 27, 201), to represent a certified nationwide class of students
                for fee refunds after their classes were moved online by Rutgers due to the
                novel coronavirus, COVID-19,
            57. Malone v. Western Digital Corp., (N.D. Cal. Dec. 22, 2021), to represent a
                class of consumers who purchased hard drives that were allegedly deceptively
                advertised,
            58. Jenkins v. Charles Industries, LLC, (Cir. Ct. DuPage Cnty. Dec. 21, 2021) to
                represent a certified class of employees who used a fingerprint clock-in
                system, in alleged violation of the Illinois Biometric Information Privacy Act,
            59. Frederick v. Examsoft Worldwide, Inc., (Cir. Ct. DuPage Cnty. Jan. 6, 2022)
                to represent a certified class of exam takers who used virtual exam proctoring
                software, in alleged violation of the Illinois Biometric Information Privacy
                Act,
            60. Isaacson v. Liqui-Box Flexibles, LLC, et al., (Cir. Ct. Will Cnty. Jan. 18,
                2022) to represent a certified class of employees who used a fingerprint clock-
                in system, in alleged violation of the Illinois Biometric Information Privacy
                Act,
            61. Goldstein et al. v. Henkel Corp., (D. Conn. Mar. 3, 2022) to represent a
                proposed class of purchasers of Right Guard-brand antiperspirants that were
                allegedly contaminated with benzene,
            62. McCall v. Hercules Corp., (N.Y. Sup. Ct., Westchester Cnty. Mar. 14, 2022)
                to represent a certified class of who laundry card purchasers who were
                allegedly subjected to deceptive practices by being denied cash refunds,
            63. Lewis v. Trident Manufacturing, Inc., (Cir. Ct. Kane Cnty. Mar. 16, 2022) to
                represent a certified class of workers who used a fingerprint clock-in system,
                in alleged violation of the Illinois Biometric Information Privacy Act,
            64. Croft v. Spinx Games Limited, et al., (W.D. Wash. Mar. 31, 2022) to represent
                a certified class of Washington residents who lost money playing mobile
                applications games that allegedly constituted illegal gambling under
                Washington law,
            65. Fischer v. Instant Checkmate LLC, (N.D. Ill. Mar. 31, 2022) to represent a
                certified class of Illinois residents whose identities were allegedly used
                without their consent in alleged violation of the Illinois Right of Publicity Act,
            66. Rivera v. Google LLC, (Cir. Ct. Cook Cnty. Apr. 25, 2022) to represent a
                certified class of Illinois residents who appeared in a photograph in Google
                Photos, in alleged violation of the Illinois Biometric Information Privacy Act,
            67. Loftus v. Outside Integrated Media, LLC, (E.D. Mich. May 5, 2022) to
                represent a class of magazine subscribers under the Michigan Preservation of
                Personal Privacy Act,
Case 2:22-cv-00188-HYJ-RSK      ECF No. 75-4, PageID.4247           Filed 05/15/24     Page 16
                                        of 42
                                                                                    PAGE 6


            68. D’Amario v. The University of Tampa, (S.D.N.Y. June 3, 2022) to represent a
                certified nationwide class of students for tuition and fee refunds after their
                classes were moved online by The University of Tampa due to the novel
                coronavirus, COVID-19,
            69. Fittipaldi v. Monmouth University, (D.N.J. Sept. 22, 2022) to represent a
                certified nationwide class of students for tuition and fee refunds after their
                classes were moved online by Monmouth University due to the novel
                coronavirus, COVID-19,
            70. Armstead v. VGW Malta Ltd. et al. (Cir. Ct. Henderson Cnty. Oct. 3, 2022) to
                present a certified class of Kentucky residents who lost money playing mobile
                applications games that allegedly constituted illegal gambling under Kentucky
                law,
            71. Cruz v. The Connor Group, A Real Estate Investment Firm, LLC, (N.D. Ill.
                Oct. 26, 2022) to represent a certified class of workers who used a fingerprint
                clock-in system, in alleged violation of the Illinois Biometric Information
                Privacy Act,
            72. Delcid et al. v. TCP HOT Acquisitions LLC et al. (S.D.N.Y. Oct. 28, 2022) to
                represent a certified nationwide class of purchasers of Sure and Brut-brand
                antiperspirants that were allegedly contaminated with benzene,
            73. Kain v. The Economist Newspaper NA, Inc. (E.D. Mich. Dec. 15, 2022) to
                represent a class of magazine subscribers under the Michigan Preservation of
                Personal Privacy Act,
            74. Strano v. Kiplinger Washington Editors, Inc. (E.D. Mich. Jan. 6, 2023) to
                represent a class of magazine subscribers under the Michigan Preservation of
                Personal Privacy Act,
            75. Moeller v. The Week Publications, Inc. (E.D. Mich. Jan. 6, 2023) to represent
                a class of magazine subscribers under the Michigan Preservation of Personal
                Privacy Act,
            76. Ambrose v. Boston Globe Media Partners, LLC (D. Mass. May 25, 2023) to
                represent a nationwide class of newspaper subscribers who were also
                Facebook users under the Video Privacy Protection Act,
            77. In re: Apple Data Privacy Litigation, (N.D. Cal. July 5, 2023) to represent a
                putative nationwide class of all persons who turned off permissions for data
                tracking and whose mobile app activity was still tracked on iPhone mobile
                devices,
            78. Young v. Military Advantage, Inc. d/b/a Military.com (Cir. Ct. DuPage Cnty.
                July 26, 2023) to represent a nationwide class of website subscribers who
                were also Facebook users under the Video Privacy Protection Act,
            79. Whiting v. Yellow Social Interactive Ltd. (Cir. Ct. Henderson Cnty. Aug. 15,
                2023) to represent a certified class of Kentucky residents who lost money
                playing mobile applications games that allegedly constituted illegal gambling
                under Kentucky law,
            80. Kotila v. Charter Financial Publishing Network, Inc. (W.D. Mich. Feb. 21,
                2024) to represent a class of magazine subscribers under the Michigan
                Preservation of Personal Privacy Act,
            81. Schreiber v. Mayo Foundation for Medical Education and Research (W.D.
                Mich. Feb. 21, 2024) to represent a class of magazine subscribers under the
                Michigan Preservation of Personal Privacy Act.
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4248            Filed 05/15/24      Page 17
                                             of 42
                                                                                          PAGE 7



                                       SCOTT A. BURSOR

        Mr. Bursor has an active civil trial practice, having won multi-million verdicts or
 recoveries in six of six civil jury trials since 2008. Mr. Bursor’s most recent victory came in
 May 2019 in Perez v. Rash Curtis & Associates, in which Mr. Bursor served as lead trial counsel
 and won a $267 million jury verdict against a debt collector for violations of the Telephone
 Consumer Protection Act (TCPA).

         In Ayyad v. Sprint Spectrum L.P. (2013), where Mr. Bursor served as lead trial counsel,
 the jury returned a verdict defeating Sprint’s $1.06 billion counterclaim and securing the class’s
 recovery of more than $275 million in cash and debt relief.

         In Thomas v. Global Vision Products, Inc. (2009), the jury returned a $50 million verdict
 in favor of the plaintiff and class represented by Mr. Bursor. The legal trade publication
 VerdictSearch reported that this was the second largest jury verdict in California in 2009.

         Class actions are rarely tried to verdict. Other than Mr. Bursor and his partner Mr.
 Fisher, we know of no lawyer that has tried more than one class action to a jury. Mr. Bursor’s
 perfect record of six wins in six class action jury trials, with recoveries ranging from $21 million
 to $299 million, is unmatched by any other lawyer. Each of these victories was hard-fought
 against top trial lawyers from the biggest law firms in the United States.

         Mr. Bursor graduated from the University of Texas Law School in 1996. He served as
 Articles Editor of the Texas Law Review, and was a member of the Board of Advocates and
 Order of the Coif. Prior to starting his own practice, Mr. Bursor was a litigation associate at a
 large New York based law firm where he represented telecommunications, pharmaceutical, and
 technology companies in commercial litigation.

         Mr. Bursor is a member of the state bars of New York, Florida, and California, as well as
 the bars of the United States Court of Appeals for the Second, Third, Fourth, Sixth, Ninth and
 Eleventh Circuits, and the bars of the United States District Courts for the Southern and Eastern
 Districts of New York, the Northern, Central, Southern and Eastern Districts of California, the
 Southern and Middle Districts of Florida, and the Eastern District of Michigan.

                                        Representative Cases

         Mr. Bursor was appointed lead or co-lead class counsel to the largest, 2nd largest, and 3rd
 largest classes ever certified. Mr. Bursor has represented classes including more than 160
 million class members, roughly 1 of every 2 Americans. Listed below are recent cases that are
 representative of Mr. Bursor’s practice:

         Mr. Bursor negotiated and obtained court-approval for two landmark settlements in
 Nguyen v. Verizon Wireless and Zill v. Sprint Spectrum (the largest and 2nd largest classes ever
 certified). These settlements required Verizon and Sprint to open their wireless networks to
 third-party devices and applications. These settlements are believed to be the most significant
 legal development affecting the telecommunications industry since 1968, when the FCC’s
 Carterfone decision similarly opened up AT&T’s wireline telephone network.
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4249          Filed 05/15/24      Page 18
                                             of 42
                                                                                        PAGE 8


         Mr. Bursor was the lead trial lawyer in Ayyad v. Sprint Spectrum, L.P. representing a
 class of approximately 2 million California consumers who were charged an early termination
 fee under a Sprint cellphone contract, asserting claims that such fees were unlawful liquidated
 damages under the California Civil Code, as well as other statutory and common law claims.
 After a five-week combined bench-and-jury trial, the jury returned a verdict in June 2008 and the
 Court issued a Statement of Decision in December 2008 awarding the plaintiffs $299 million in
 cash and debt cancellation. Mr. Bursor served as lead trial counsel for this class again in 2013
 during a month-long jury trial in which Sprint asserted a $1.06 billion counterclaim against the
 class. Mr. Bursor secured a verdict awarding Sprint only $18.4 million, the exact amount
 calculated by the class’s damages expert. This award was less than 2% of the damages Sprint
 sought, less than 6% of the amount of the illegal termination fees Sprint charged to class
 members. In December 2016, after more than 13 years of litigation, the case was settled for
 $304 million, including $79 million in cash payments plus $225 million in debt cancellation.

         Mr. Bursor was the lead trial lawyer in White v. Cellco Partnership d/b/a Verizon
 Wireless representing a class of approximately 1.4 million California consumers who were
 charged an early termination fee under a Verizon cellphone contract, asserting claims that such
 fees were unlawful liquidated damages under the California Civil Code, as well as other statutory
 and common law claims. In July 2008, after Mr. Bursor presented plaintiffs’ case-in-chief,
 rested, then cross-examined Verizon’s principal trial witness, Verizon agreed to settle the case
 for a $21 million cash payment and an injunction restricting Verizon’s ability to impose early
 termination fees in future subscriber agreements.

         Mr. Bursor was the lead trial lawyer in Thomas v. Global Visions Products Inc. Mr.
 Bursor represented a class of approximately 150,000 California consumers who had purchased
 the Avacor® hair regrowth system. In January 2008, after a four-week combined bench-and-jury
 trial. Mr. Bursor obtained a $37 million verdict for the class, which the Court later increased to
 $40 million.

          Mr. Bursor was appointed class counsel and was elected chair of the Official Creditors’
 Committee in In re Nutraquest Inc., a Chapter 11 bankruptcy case before Chief Judge Garrett E.
 Brown, Jr. (D.N.J.) involving 390 ephedra-related personal injury and/or wrongful death claims,
 two consumer class actions, four enforcement actions by governmental agencies, and multiple
 adversary proceedings related to the Chapter 11 case. Working closely with counsel for all
 parties and with two mediators, Judge Nicholas Politan (Ret.) and Judge Marina Corodemus
 (Ret.), the committee chaired by Mr. Bursor was able to settle or otherwise resolve every claim
 and reach a fully consensual Chapter 11 plan of reorganization, which Chief Judge Brown
 approved in late 2006. This settlement included a $12.8 million recovery to a nationwide class
 of consumers who alleged they were defrauded in connection with the purchase of Xenadrine®
 dietary supplement products.

          Mr. Bursor was the lead trial lawyer in In re: Pacific Bell Late Fee Litigation. After
 filing the first class action challenging Pac Bell's late fees in April 2010, winning a contested
 motion to certify a statewide California class in January 2012, and defeating Pac Bell's motion
 for summary judgment in February 2013, Mr. Bursor obtained final approval of the $38 million
 class settlement. The settlement, which Mr. Bursor negotiated the night before opening
 statements were scheduled to commence, included a $20 million cash payment to provide
Case 2:22-cv-00188-HYJ-RSK            ECF No. 75-4, PageID.4250             Filed 05/15/24      Page 19
                                              of 42
                                                                                             PAGE 9


 refunds to California customers who paid late fees on their Pac Bell wireline telephone accounts,
 and an injunction that reduced other late fee charges by $18.6 million.

                                       L. TIMOTHY FISHER

          L. Timothy Fisher has an active practice in consumer class actions and complex business
 litigation and has also successfully handled a large number of civil appeals.

         Mr. Fisher has been actively involved in numerous cases that resulted in multi-million
 dollar recoveries for consumers and investors. Mr. Fisher has handled cases involving a wide
 range of issues including nutritional labeling, health care, telecommunications, corporate
 governance, unfair business practices and consumer fraud. With his partner Scott A. Bursor, Mr.
 Fisher has tried five class action jury trials, all of which produced successful results. In Thomas
 v. Global Vision Products, Mr. Fisher obtained a jury award of $50,024,611 — the largest class
 action award in California in 2009 and the second-largest jury award of any kind. In 2019, Mr.
 Fisher served as trial counsel with Mr. Bursor in Perez. v. Rash Curtis & Associates, where the
 jury returned a verdict for $267 million in statutory damages under the Telephone Consumer
 Protection Act.

         Mr. Fisher was admitted to the State Bar of California in 1997. He is also a member of
 the bars of the United States Court of Appeals for the Ninth Circuit, the United States District
 Courts for the Northern, Central, Southern and Eastern Districts of California, the Northern
 District of Illinois, the Eastern District of Michigan, and the Eastern District of Missouri. Mr.
 Fisher taught appellate advocacy at John F. Kennedy University School of Law in 2003 and
 2004. In 2010, he contributed jury instructions, a verdict form and comments to the consumer
 protection chapter of Justice Elizabeth A. Baron’s California Civil Jury Instruction Companion
 Handbook (West 2010). In January 2014, Chief Judge Claudia Wilken of the United States
 District Court for the Northern District of California appointed Mr. Fisher to a four-year term as
 a member of the Court’s Standing Committee on Professional Conduct.

         Mr. Fisher received his Juris Doctor from Boalt Hall at the University of California at
 Berkeley in 1997. While in law school, he was an active member of the Moot Court Board and
 participated in moot court competitions throughout the United States. In 1994, Mr. Fisher
 received an award for Best Oral Argument in the first-year moot court competition.

         In 1992, Mr. Fisher graduated with highest honors from the University of California at
 Berkeley and received a degree in political science. Prior to graduation, he authored an honors
 thesis for Professor Bruce Cain entitled “The Role of Minorities on the Los Angeles City
 Council.” He is also a member of Phi Beta Kappa.

                                         Representative Cases

 Thomas v. Global Vision Products, Inc. (Alameda County Superior Court). Mr. Fisher litigated
 claims against Global Vision Products, Inc. and other individuals in connection with the sale and
 marketing of a purported hair loss remedy known as Avacor. The case lasted more than seven
 years and involved two trials. The first trial resulted in a verdict for plaintiff and the class in the
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4251            Filed 05/15/24      Page 20
                                             of 42
                                                                                           PAGE 10


 amount of $40,000,000. The second trial resulted in a jury verdict of $50,024,611, which led to
 a $30 million settlement for the class.

 In re Cellphone Termination Fee Cases - Handset Locking Actions (Alameda County Superior
 Court). Mr. Fisher actively worked on five coordinated cases challenging the secret locking of
 cell phone handsets by major wireless carriers to prevent consumers from activating them on
 competitive carriers’ systems. Settlements have been approved in all five cases on terms that
 require the cell phone carriers to disclose their handset locks to consumers and to provide
 unlocking codes nationwide on reasonable terms and conditions. The settlements fundamentally
 changed the landscape for cell phone consumers regarding the locking and unlocking of cell
 phone handsets.

 In re Cellphone Termination Fee Cases - Early Termination Fee Cases (Alameda County
 Superior Court and Federal Communications Commission). In separate cases that are a part of
 the same coordinated litigation as the Handset Locking Actions, Mr. Fisher actively worked on
 claims challenging the validity under California law of early termination fees imposed by
 national cell phone carriers. In one of those cases, against Verizon Wireless, a nationwide
 settlement was reached after three weeks of trial in the amount of $21 million. In a second case,
 which was tried to verdict, the Court held after trial that the $73 million of flat early termination
 fees that Sprint had collected from California consumers over an eight-year period were void and
 unenforceable.

                                    Selected Published Decisions

 Melgar v. Zicam LLC, 2016 WL 1267870 (E.D. Cal. Mar. 30, 2016) (certifying 10-jurisdiction
 class of purchasers of cold remedies, denying motion for summary judgment, and denying
 motions to exclude plaintiff’s expert witnesses).
 Salazar v. Honest Tea, Inc., 2015 WL 7017050 (E.D. Cal. Nov. 12. 2015) (denying motion for
 summary judgment).
 Dei Rossi v. Whirlpool Corp., 2015 WL 1932484 (E.D. Cal. Apr. 27, 2015) (certifying California
 class of purchasers of refrigerators that were mislabeled as Energy Star qualified).
 Bayol v. Zipcar, Inc., 78 F.Supp.3d 1252 (N.D. Cal. 2015) (denying motion to dismiss claims
 alleging unlawful late fees under California Civil Code § 1671).
 Forcellati v. Hyland’s, Inc., 2015 WL 9685557 (C.D. Cal. Jan. 12, 2015) (denying motion for
 summary judgment in case alleging false advertising of homeopathic cold and flu remedies for
 children).
 Bayol v. Zipcar, Inc., 2014 WL 4793935 (N.D. Cal. Sept. 25, 2014) (denying motion to transfer
 venue pursuant to a forum selection clause).
 Forcellati v. Hyland’s Inc., 2014 WL 1410264 (C.D. Cal. Apr. 9, 2014) (certifying nationwide
 class of purchasers of homeopathic cold and flu remedies for children).
 Hendricks v. StarKist Co., 30 F.Supp.3d 917 (N.D. Cal. 2014) (denying motion to dismiss in
 case alleging underfilling of 5-ounce cans of tuna).
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4252           Filed 05/15/24         Page 21
                                             of 42
                                                                                         PAGE 11


 Dei Rossi v. Whirlpool Corp., 2013 WL 5781673 (E.D. Cal. October 25, 2013) (denying motion
 to dismiss in case alleging that certain KitchenAid refrigerators were misrepresented as Energy
 Star qualified).
 Forcellati v. Hyland’s Inc., 876 F.Supp.2d 1155 (C.D. Cal. 2012) (denying motion to dismiss
 complaint alleging false advertising regarding homeopathic cold and flu remedies for children).
 Clerkin v. MyLife.com, 2011 WL 3809912 (N.D. Cal. August 29, 2011) (denying defendants’
 motion to dismiss in case alleging false and misleading advertising by a social networking
 company).
 In re Cellphone Termination Fee Cases, 186 Cal.App.4th 1380 (2010) (affirming order
 approving $21 million class action settlement).
 Gatton v. T-Mobile USA, Inc., 152 Cal.App.4th 571 (2007) (affirming order denying motion to
 compel arbitration).
                                     Selected Class Settlements
 Melgar v. Zicam (Eastern District of California) - $16 million class settlement of claims alleging
 cold medicine was ineffective.

 Gastelum v. Frontier California Inc. (San Francisco Superior Court) - $10.9 million class action
 settlement of claims alleging that a residential landline service provider charged unlawful late
 fees.

 West v. California Service Bureau, Inc. (Northern District of California) - $4.1 million class
 settlement of claims under the Telephone Consumer Protection Act.

 Gregorio v. Premier Nutrition Corp. (Southern District of New York) - $9 million class
 settlement of false advertising claims against protein shake manufacturer.

 Morris v. SolarCity Corp. (Northern District of California) - $15 million class settlement of
 claims under the Telephone Consumer Protection Act.

 Retta v. Millennium Products, Inc. (Central District of California) - $8.25 million settlement to
 resolve claims of bottled tea purchasers for alleged false advertising.

 Forcellati v. Hyland’s (Central District of California) – nationwide class action settlement
 providing full refunds to purchasers of homeopathic cold and flu remedies for children.

 Dei Rossi v. Whirlpool (Eastern District of California) – class action settlement providing $55
 cash payments to purchasers of certain KitchenAid refrigerators that allegedly mislabeled as
 Energy Star qualified.

 In Re NVIDIA GTX 970 Graphics Chip Litigation (Northern District of California) - $4.5 million
 class action settlement of claims alleging that a computer graphics card was sold with false and
 misleading representations concerning its specifications and performance.

 Hendricks v. StarKist Co. (Northern District of California) – $12 million class action settlement
 of claims alleging that 5-ounce cans of tuna were underfilled.
Case 2:22-cv-00188-HYJ-RSK            ECF No. 75-4, PageID.4253           Filed 05/15/24       Page 22
                                              of 42
                                                                                           PAGE 12


 In re Zakskorn v. American Honda Motor Co. Honda (Eastern District of California) –
 nationwide settlement providing for brake pad replacement and reimbursement of out-of-pocket
 expenses in case alleging defective brake pads on Honda Civic vehicles manufactured between
 2006 and 2011.

 Correa v. Sensa Products, LLC (Los Angeles Superior Court) - $9 million settlement on behalf
 of purchasers of the Sensa weight loss product.

 In re Pacific Bell Late Fee Litigation (Contra Costa County Superior Court) - $38.6 million
 settlement on behalf of Pac Bell customers who paid an allegedly unlawful late payment charge.

 In re Haier Freezer Consumer Litigation (Northern District of California) - $4 million
 settlement, which provided for cash payments of between $50 and $325.80 to class members
 who purchased the Haier HNCM070E chest freezer.

 Thomas v. Global Vision Products, Inc. (Alameda County Superior Court) - $30 million
 settlement on behalf of a class of purchasers of a hair loss remedy.

 Guyette v. Viacom, Inc. (Alameda County Superior Court) - $13 million settlement for a class of
 cable television subscribers who alleged that the defendant had improperly failed to share certain
 tax refunds with its subscribers.

                                     JOSEPH I. MARCHESE

         Joseph I. Marchese is a Partner with Bursor & Fisher, P.A. Joe focuses his practice on
 consumer class actions, employment law disputes, and commercial litigation. He has
 represented corporate and individual clients in a wide array of civil litigation, and has substantial
 trial and appellate experience.

         Joe has diverse experience in litigating and resolving consumer class actions involving
 claims of mislabeling, false or misleading advertising, privacy violations, data breach claims, and
 violations of the Servicemembers Civil Relief Act.

        Joe also has significant experience in multidistrict litigation proceedings. Recently, he
 served on the Plaintiffs’ Executive Committee in In Re: Blue Buffalo Company, Ltd. Marketing
 And Sales Practices Litigation, MDL No. 2562, which resulted in a $32 million consumer class
 settlement. Currently, he serves on the Plaintiffs’ Steering Committee for Economic
 Reimbursement in In Re: Valsartan Products Liability Litigation, MDL. No. 2875.

         Joe is admitted to the State Bar of New York and is a member of the bars of the United
 States District Courts for the Southern District of New York, the Eastern District of New York,
 and the Eastern District of Michigan, as well as the United States Court of Appeals for the
 Second Circuit.

       Joe graduated from Boston University School of Law in 2002 where he was a member of
 The Public Interest Law Journal. In 1998, Joe graduated with honors from Bucknell University.
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4254           Filed 05/15/24     Page 23
                                             of 42
                                                                                         PAGE 13


                                  Selected Published Decisions:

 Boelter v. Hearst Communications, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. Sept. 7, 2017), granting
 plaintiff’s motion for partial summary judgment on state privacy law violations in putative class
 action.

 Boelter v. Hearst Communications, Inc., 192 F. Supp. 3d 427 (S.D.N.Y. June 17, 2016), denying
 publisher’s motion to dismiss its subscriber’s allegations of state privacy law violations in
 putative class action.

 In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
 false advertising and other claims brought by New York and California purchasers of grass seed
 product.

 Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
 certification of false advertising and other claims brought by purchasers of purported “100%
 Pure Olive Oil” product.

 In re Michaels Stores Pin Pad Litigation, 830 F. Supp. 2d 518 (N.D. Ill. 2011), denying retailer’s
 motion to dismiss its customers’ state law consumer protection and privacy claims in data breach
 putative class action.

                                    Selected Class Settlements:

 Edwards v. Mid-Hudson Valley Federal Credit Union, Case No. 22-cv-00562-TJM-CFH
 (N.D.N.Y. 2023) – final approval granted for $2.2 million class settlement to resolve claims that
 an upstate New York credit union was unlawfully charging overdraft fees on accounts with
 sufficient funds.

 Edwards v. Hearst Communications, Inc., Case No. 15-cv-09279-AT (S.D.N.Y. 2019) – final
 approval granted for $50 million class settlement to resolve claims of magazine subscribers for
 alleged statutory privacy violations.

 Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-05671-NRB
 (S.D.N.Y. 2019) – final approval granted for $13.75 million class settlement to resolve claims of
 magazine subscribers for alleged statutory privacy violations.

 In re Scotts EZ Seed Litigation, Case No. 12-cv-4727-VB (S.D.N.Y. 2018) – final approval
 granted for $47 million class settlement to resolve false advertising claims of purchasers of
 combination grass seed product.

 In Re: Blue Buffalo Marketing And Sales Practices Litigation, Case No. 14-MD-2562-RWS
 (E.D. Mo. 2016) – final approval granted for $32 million class settlement to resolve claims of pet
 owners for alleged false advertising of pet foods.

 Rodriguez v. Citimortgage, Inc., Case No. 11-cv-4718-PGG (S.D.N.Y. 2015) – final approval
 granted for $38 million class settlement to resolve claims of military servicemembers for alleged
Case 2:22-cv-00188-HYJ-RSK            ECF No. 75-4, PageID.4255            Filed 05/15/24       Page 24
                                              of 42
                                                                                            PAGE 14


 foreclosure violations of the Servicemembers Civil Relief Act, where each class member was
 entitled to $116,785 plus lost equity in the foreclosed property and interest thereon.

 O’Brien v. LG Electronics USA, Inc., et al., Case No. 10-cv-3733-DMC (D.N.J. 2011) – final
 approval granted for $23 million class settlement to resolve claims of Energy Star refrigerator
 purchasers for alleged false advertising of the appliances’ Energy Star qualification.

                                       SARAH N. WESTCOT

        Sarah N. Westcot is the Managing Partner of Bursor & Fisher’s Miami office. She
 focuses her practice on consumer class actions, complex business litigation, and mass torts.

         She has represented clients in a wide array of civil litigation, and has substantial trial and
 appellate experience. Sarah served as trial counsel in Ayyad v. Sprint Spectrum L.P., where
 Bursor & Fisher won a jury verdict defeating Sprint’s $1.06 billion counterclaim and securing
 the class’s recovery of more than $275 million in cash and debt relief.

         Sarah also has significant experience in high-profile, multi-district litigations. She
 currently serves on the Plaintiffs’ Steering Committee in In re Zantac (Ranitidine) Products
 Liability Litigation, MDL No. 2924 (S.D. Florida). She also serves on the Plaintiffs’ Executive
 Committee in In re Apple Inc. App Store Simulated Casino-Style Games Litigation, MDL No.
 2985 (N.D. Cal.) and In Re: Google Play Store Simulated Casino-Style Games Litigation, MDL
 No. 3001 (N.D. Cal.).

         Sarah is admitted to the State Bars of California and Florida, and is a member of the bars
 of the United States District Courts for the Northern, Central, Southern, and Eastern Districts of
 California, the United States District Courts for the Southern and Middle Districts of Florida, and
 the bars of the United States Courts of Appeals for the Second, Eighth, and Ninth Circuits.

         Sarah received her Juris Doctor from the University of Notre Dame Law School in 2009.
 During law school, she was a law clerk with the Cook County State’s Attorney’s Office in
 Chicago and the Santa Clara County District Attorney’s Office in San Jose, CA, gaining early
 trial experience in both roles. She graduated with honors from the University of Florida in 2005.

        Sarah is a member of The National Trial Lawyers Top 100 Civil Plaintiff Lawyers, and
 was selected to The National Trial Lawyers Top 40 Under 40 Civil Plaintiff Lawyers for 2022.

                                       JOSHUA D. ARISOHN

          Joshua D. Arisohn is a Partner with Bursor & Fisher, P.A. Josh has litigated precedent-
 setting cases in the areas of consumer class actions and terrorism. He participated in the first ever
 trial to take place under the Anti-Terrorism Act, a statute that affords U.S. citizens the right to
 assert federal claims for injuries arising out of acts of international terrorism. Josh’s practice
 continues to focus on terrorism-related matters as well as class actions.

         Josh is admitted to the State Bar of New York and is a member of the bars of the United
 States District Courts for the Southern District of New York, the Eastern District of New York,
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4256            Filed 05/15/24      Page 25
                                             of 42
                                                                                          PAGE 15


 the District Court for the District of Columbia, and the United States Courts of Appeals for the
 Second and Ninth Circuits.

        Josh previously practiced at Dewey & LeBoeuf LLP and DLA Piper LLP. He graduated
 from Columbia University School of Law in 2006, where he was a Harlan Fiske Stone Scholar,
 and received his B.A. from Cornell University in 2002. Josh has been honored as a 2015, 2016
 and 2017 Super Lawyer Rising Star.

                                   Selected Published Decisions:

 Fields v. Syrian Arab Republic, Civil Case No. 18-1437 (RJL), entering a judgment of
 approximately $850 million in favor of the family members of victims of terrorist attacks carried
 out by ISIS with the material support of Syria.

 Farwell v. Google LLC, 2022 WL 1568361 (C.D. Ill. Mar. 31, 2022), denying social media
 defendant’s motion to dismiss BIPA claims brought on behalf of Illinois school students using
 Google’s Workspace for Education platform on laptop computers.

 Weiman v. Miami University, Case No. 2020-00614JD (Oh. Ct. Claims), certifying a class of
 students alleging a breach of contract based on their school’s failure to provide a full semester of
 in-person classes.

 Smith v. The Ohio State University, Case No. 2020-00321JD (Oh. Ct. Claims), certifying a class
 of students alleging a breach of contract based on their school’s failure to provide a full semester
 of in-person classes.

 Waitt v. Kent State University, Case No. 2020-00392JD (Oh. Ct. Claims), certifying a class of
 students alleging a breach of contract based on their school’s failure to provide a full semester of
 in-person classes.

 Duke v. Ohio University, Case No. 2021-00036JD (Oh. Ct. Claims), certifying a class of students
 alleging a breach of contract based on their school’s failure to provide a full semester of in-
 person classes.

 Keba v. Bowling Green State University, Case No. 2020-00639JD (Oh. Ct. Claims), certifying a
 class of students alleging a breach of contract based on their school’s failure to provide a full
 semester of in-person classes.

 Kirkbride v. The Kroger Co., Case No. 2:21-cv-00022-ALM-EPD, denying motion to dismiss
 claims based on the allegation that defendant overstated its usual and customary prices and
 thereby overcharged customers for generic drugs.

                                    Selected Class Settlements:

 Morris v. SolarCity Corp., Case No. 3:15-cv-05107-RS (N.D. Cal.) - final approval granted for
 $15 million class settlement to resolve claims under the Telephone Consumer Protection Act
 (“TCPA”), 47 U.S.C. § 227 et seq.
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4257            Filed 05/15/24      Page 26
                                             of 42
                                                                                          PAGE 16


 Marquez v. Google LLC, Case No. 2021-CH-1460 (Cir. Ct. Cook Cnty. 2022) – final approval
 granted for $100 million class settlement to resolve alleged BIPA violations of Illinois residents
 appearing in photos on the Google Photos platform.

                                       NEAL J. DECKANT

        Neal J. Deckant is a Partner with Bursor & Fisher, P.A., where he serves as the firm's
 Head of Information & e-Discovery. Neal focuses his practice on complex business litigation
 and consumer class actions. Prior to joining Bursor & Fisher, Neal counseled low-income
 homeowners facing foreclosure in East Boston.

         Neal is admitted to the State Bars of California and New York, and is a member of the
 bars of the United States District Court for the Northern District of California, the United States
 District Court for the Eastern District of California, the United States District Court for the
 Central District of California, the United States District Court for the Southern District of
 California, the United States District Court for the Southern District of New York, the United
 States District Court for the Eastern District of New York, and the bars of the United States
 Courts of Appeals for the Second and Ninth Circuits.

         Neal received his Juris Doctor from Boston University School of Law in 2011,
 graduating cum laude with two Dean’s Awards. During law school, Neal served as a Senior
 Articles Editor for the Review of Banking and Financial Law, where he authored two published
 articles about securitization reforms, both of which were cited by the New York Court of
 Appeals, the highest court in the state. Neal was also awarded Best Oral Argument in his moot
 court section, and he served as a Research Assistant for his Securities Regulation professor.
 Neal has also been honored as a 2014, 2015, 2016, and 2017 Super Lawyers Rising Star. In
 2007, Neal graduated with Honors from Brown University with a dual major in East Asian
 Studies and Philosophy.

                                   Selected Published Decisions:

 Martinelli v. Johnson & Johnson, 2019 WL 1429653 (N.D. Cal. Mar. 29, 2019), granting class
 certification of false advertising and other claims brought by purchasers of Benecol spreads
 labeled with the representation “No Trans Fats.”

 Dzielak v. Whirlpool Corp., 2017 WL 6513347 (D.N.J. Dec. 20, 2017), granting class
 certification of consumer protection claims brought by purchasers of Maytag Centennial washing
 machines marked with the “Energy Star” logo.

 Duran v. Obesity Research Institute, LLC, 204 Cal. Rptr. 3d 896 (Cal. Ct. App. 2016), reversing
 and remanding final approval of a class action settlement on appeal, regarding allegedly
 mislabeled dietary supplements, in connection with a meritorious objection.

 Marchuk v. Faruqi & Faruqi, LLP, et al., 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting
 individual and law firm defendants’ motion for judgment as a matter of law on plaintiff’s claims
 for retaliation and defamation, as well as for all claims against law firm partners, Nadeem and
 Lubna Faruqi.
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4258           Filed 05/15/24     Page 27
                                             of 42
                                                                                         PAGE 17


 Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
 certification of false advertising and other claims brought by purchasers of purported “100%
 Pure Olive Oil” product.

 Ebin v. Kangadis Food Inc., 2014 WL 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor’s
 motion for summary judgment against nationwide class of purchasers of purported “100% Pure
 Olive Oil” product.

                                    Selected Class Settlements:

 In Re NVIDIA GTX 970 Graphics Chip Litigation, Case No. 15-cv-00760-PJH (N.D. Cal. Dec. 7,
 2016) – final approval granted for $4.5 million class action settlement to resolve claims that a
 computer graphics card was allegedly sold with false and misleading representations concerning
 its specifications and performance.

 Hendricks v. StarKist Co., 2016 WL 5462423 (N.D. Cal. Sept. 29, 2016) – final approval granted
 for $12 million class action settlement to resolve claims that 5-ounce cans of tuna were allegedly
 underfilled.

 In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N.Y. Dec. 17, 2014) – class action
 claims resolved for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
 defendant filed for bankruptcy, following claims that its olive oil was allegedly sold with false
 and misleading representations.

                                      Selected Publications:

 Neal Deckant, X. Reforms of Collateralized Debt Obligations: Enforcement, Accounting and
 Regulatory Proposals, 29 Rev. Banking & Fin. L. 79 (2009) (cited in Quadrant Structured
 Products Co., Ltd. v. Vertin, 16 N.E.3d 1165, 1169 n.8 (N.Y. 2014)).

 Neal Deckant, Criticisms of Collateralized Debt Obligations in the Wake of the Goldman Sachs
 Scandal, 30 Rev. Banking & Fin. L. 407 (2010) (cited in Quadrant Structured Products Co., Ltd.
 v. Vertin, 16 N.E.3d 1165, 1169 n.8 (N.Y. 2014); Lyon Village Venetia, LLC v. CSE Mortgage
 LLC, 2016 WL 476694, at *1 n.1 (Md. Ct. Spec. App. Feb. 4, 2016); Ivan Ascher, Portfolio
 Society: On the Capitalist Mode of Prediction, at 141, 153, 175 (Zone Books / The MIT Press
 2016); Devon J. Steinmeyer, Does State National Bank of Big Spring v. Geithner Stand a
 Fighting Chance?, 89 Chi.-Kent. L. Rev. 471, 473 n.13 (2014)).

                                      YITZCHAK KOPEL

        Yitzchak Kopel is a Partner with Bursor & Fisher, P.A. Yitz focuses his practice on
 consumer class actions and complex business litigation. He has represented corporate and
 individual clients before federal and state courts, as well as in arbitration proceedings.

         Yitz has substantial experience in successfully litigating and resolving consumer class
 actions involving claims of consumer fraud, data breaches, and violations of the telephone
 consumer protection act. Since 2014, Yitz has obtained class certification on behalf of his clients
Case 2:22-cv-00188-HYJ-RSK            ECF No. 75-4, PageID.4259            Filed 05/15/24      Page 28
                                              of 42
                                                                                           PAGE 18


 five times, three of which were certified as nationwide class actions. Bursor & Fisher was
 appointed as class counsel to represent the certified classes in each of the cases.

         Yitz is admitted to the State Bars of New York and New Jersey, the bar of the United
 States Court of Appeals for the Second, Eleventh, and Ninth Circuits, and the bars of the United
 States District Courts for the Southern District of New York, Eastern District of New York,
 Eastern District of Missouri, Eastern District of Wisconsin, Northern District of Illinois, and
 District of New Jersey.

        Yitz received his Juris Doctorate from Brooklyn Law School in 2012, graduating cum
 laude with two Dean’s Awards. During law school, Yitz served as an Articles Editor for the
 Brooklyn Law Review and worked as a Law Clerk at Shearman & Sterling. In 2009, Yitz
 graduated cum laude from Queens College with a B.A. in Accounting.

                                   Selected Published Decisions:

 Bassaw v. United Industries Corp., 482 F.Supp.3d 80, 2020 WL 5117916 (S.D.N.Y. Aug. 31,
 2020), denying motion to dismiss claims in putative class action concerning insect foggers.

 Poppiti v. United Industries Corp., 2020 WL 1433642 (E.D. Mo. Mar. 24, 2020), denying
 motion to dismiss claims in putative class action concerning citronella candles.

 Bakov v. Consolidated World Travel, Inc., 2019 WL 6699188 (N.D. Ill. Dec. 9, 2019), granting
 summary judgment on behalf of certified class in robocall class action.

 Krumm v. Kittrich Corp., 2019 WL 6876059 (E.D. Mo. Dec. 17, 2019), denying motion to
 dismiss claims in putative class action concerning mosquito repellent.

 Crespo v. S.C. Johnson & Son, Inc., 394 F. Supp. 3d 260 (S.D.N.Y. 2019), denying defendant’s
 motion to dismiss fraud and consumer protection claims in putative class action regarding Raid
 insect fogger.

 Bakov v. Consolidated World Travel, Inc., 2019 WL 1294659 (N.D. Ill. Mar. 21, 2019),
 certifying a class of persons who received robocalls in the state of Illinois.

 Bourbia v. S.C. Johnson & Son, Inc., 375 F. Supp. 3d 454 (S.D.N.Y. 2019), denying defendant’s
 motion to dismiss fraud and consumer protection claims in putative class action regarding
 mosquito repellent.

 Hart v. BHH, LLC, 323 F. Supp. 3d 560 (S.D.N.Y. 2018), denying defendants’ motion for
 summary judgment in certified class action involving the sale of ultrasonic pest repellers.

 Hart v. BHH, LLC, 2018 WL 3471813 (S.D.N.Y. July 19, 2018), denying defendants’ motion to
 exclude plaintiffs’ expert in certified class action involving the sale of ultrasonic pest repellers.
Case 2:22-cv-00188-HYJ-RSK          ECF No. 75-4, PageID.4260           Filed 05/15/24       Page 29
                                            of 42
                                                                                          PAGE 19


 Penrose v. Buffalo Trace Distillery, Inc., 2018 WL 2334983 (E.D. Mo. Feb. 5, 2018), denying
 bourbon producers’ motion to dismiss fraud and consumer protection claims in putative class
 action.

 West v. California Service Bureau, Inc., 323 F.R.D. 295 (N.D. Cal. 2017), certifying a
 nationwide class of “wrong-number” robocall recipients.

 Hart v. BHH, LLC, 2017 WL 2912519 (S.D.N.Y. July 7, 2017), certifying nationwide class of
 purchasers of ultrasonic pest repellers.

 Browning v. Unilever United States, Inc., 2017 WL 7660643 (C.D. Cal. Apr. 26, 2017), denying
 motion to dismiss fraud and warranty claims in putative class action concerning facial scrub
 product.

 Brenner v. Procter & Gamble Co., 2016 WL 8192946 (C.D. Cal. Oct. 20, 2016), denying motion
 to dismiss warranty and consumer protection claims in putative class action concerning baby
 wipes.

 Hewlett v. Consolidated World Travel, Inc., 2016 WL 4466536 (E.D. Cal. Aug. 23, 2016),
 denying telemarketer’s motion to dismiss TCPA claims in putative class action.

 Bailey v. KIND, LLC, 2016 WL 3456981 (C.D. Cal. June 16, 2016), denying motion to dismiss
 fraud and warranty claims in putative class action concerning snack bars.

 Hart v. BHH, LLC, 2016 WL 2642228 (S.D.N.Y. May 5, 2016) denying motion to dismiss
 warranty and consumer protection claims in putative class action concerning ultrasonic pest
 repellers.

 Marchuk v. Faruqi & Faruqi, LLP, et al., 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting clients’
 motion for judgment as a matter of law on claims for retaliation and defamation in employment
 action.

 In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
 false advertising and other claims brought by New York and California purchasers of grass seed
 product.

 Brady v. Basic Research, L.L.C., 101 F. Supp. 3d 217 (E.D.N.Y. 2015), denying diet pill
 manufacturers’ motion to dismiss its purchasers’ allegations for breach of express warranty in
 putative class action.

 Ward v. TheLadders.com, Inc., 3 F. Supp. 3d 151 (S.D.N.Y. 2014), denying online job board’s
 motion to dismiss its subscribers’ allegations of consumer protection law violations in putative
 class action.

 Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
 certification of false advertising and other claims brought by purchasers of purported “100%
 Pure Olive Oil” product.
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4261            Filed 05/15/24      Page 30
                                             of 42
                                                                                          PAGE 20


 Ebin v. Kangadis Food Inc., 2014 WL 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor’s
 motion for summary judgment against nationwide class of purchasers of purported “100% Pure
 Olive Oil” product.

                                    Selected Class Settlements:

 Hart v. BHH, LLC, Case No. 1:15-cv-04804 (S.D.N.Y. Sept. 22, 2020), resolving class action
 claims regarding ultrasonic pest repellers.

 In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N.Y. Dec. 17, 2014), resolving
 class action claims for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
 defendant filed for bankruptcy following the certification of nationwide claims alleging that its
 olive oil was sold with false and misleading representations.

 West v. California Service Bureau, Case No. 4:16-cv-03124-YGR (N.D. Cal. Jan. 23, 2019),
 resolving class action claims against debt-collector for wrong-number robocalls for $4.1 million.

                                      PHILIP L. FRAIETTA

        Philip L. Fraietta is a Partner with Bursor & Fisher, P.A. Phil focuses his practice on data
 privacy, complex business litigation, consumer class actions, and employment law disputes. Phil
 has been named a “Rising Star” in the New York Metro Area by Super Lawyers® every year
 since 2019.

         Phil has significant experience in litigating consumer class actions, particularly those
 involving privacy claims under statutes such as the Michigan Preservation of Personal Privacy
 Act, the Illinois Biometric Information Privacy Act, and Right of Publicity statutes. Since 2016,
 Phil has recovered over $100 million for class members in privacy class action settlements. In
 addition to privacy claims, Phil has significant experience in litigating and settling class action
 claims involving false or misleading advertising.

         Phil is admitted to the State Bars of New York, New Jersey, Illinois, and Michigan, the
 bars of the United States District Courts for the Southern District of New York, the Eastern
 District of New York, the Western District of New York, the Northern District of New York, the
 District of New Jersey, the Eastern District of Michigan, the Western District of Michigan, the
 Northern District of Illinois, the Central District of Illinois, and the United States Court of
 Appeals for the Second, Third, and Ninth Circuits. Phil was a Summer Associate with Bursor &
 Fisher prior to joining the firm.

        Phil received his Juris Doctor from Fordham University School of Law in 2014,
 graduating cum laude. During law school, Phil served as an Articles & Notes Editor for the
 Fordham Law Review, and published two articles. In 2011, Phil graduated cum laude from
 Fordham University with a B.A. in Economics.

                                   Selected Published Decisions:
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4262           Filed 05/15/24     Page 31
                                             of 42
                                                                                         PAGE 21


 Fischer v. Instant Checkmate LLC, 2022 WL 971479 (N.D. Ill. Mar. 31, 2022), certifying class
 of Illinois residents for alleged violations of Illinois’ Right of Publicity Act by background
 reporting website.

 Kolebuck-Utz v. Whitepages Inc., 2021 WL 157219 (W.D. Wash. Apr. 22, 2021), denying
 defendant’s motion to dismiss for alleged violations of Ohio’s Right to Publicity Law.

 Bergeron v. Rochester Institute of Technology, 2020 WL 7486682 (W.D.N.Y. Dec. 18, 2020),
 denying university’s motion to dismiss for failure to refund tuition and fees for the Spring 2020
 semester in light of the COVID-19 pandemic.

 Porter v. NBTY, Inc., 2019 WL 5694312 (N.D. Ill. Nov. 4, 2019), denying supplement
 manufacturer’s motion for summary judgment on consumers’ allegations of false advertising
 relating to whey protein content.

 Boelter v. Hearst Communications, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. 2017), granting
 plaintiff’s motion for partial summary judgment on state privacy law violations in putative class
 action.

                                    Selected Class Settlements:

 Edwards v. Hearst Communications, Inc., Case No. 15-cv-09279-AT (S.D.N.Y. 2019) – final
 approval granted for $50 million class settlement to resolve claims of magazine subscribers for
 alleged statutory privacy violations.

 Ruppel v. Consumers Union of United States, Inc., Case No. 16-cv-02444-KMK (S.D.N.Y.
 2018) – final approval granted for $16.375 million class settlement to resolve claims of magazine
 subscribers for alleged statutory privacy violations.

 Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-05671-NRB
 (S.D.N.Y. 2019) – final approval granted for $13.75 million class settlement to resolve claims of
 magazine subscribers for alleged statutory privacy violations.

 Benbow v. SmileDirectClub, LLC, Case No. 2020-CH-07269 (Cir. Ct. Cook Cnty. 2021) – final
 approval granted for $11.5 million class settlement to resolve claims for alleged TCPA
 violations.

 Gregorio v. Premier Nutrition Corp., Case No. 17-cv-05987-AT (S.D.N.Y. 2019) – final
 approval granted for $9 million class settlement to resolve claims of protein shake purchasers for
 alleged false advertising.

 Taylor v. Trusted Media Brands, Inc., Case No. 16-cv-01812-KMK (S.D.N.Y. 2018) – final
 approval granted for $8.225 million class settlement to resolve claims of magazine subscribers
 for alleged statutory privacy violations.
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4263           Filed 05/15/24      Page 32
                                             of 42
                                                                                          PAGE 22


 Moeller v. American Media, Inc., Case No. 16-cv-11367-JEL (E.D. Mich. 2017) – final approval
 granted for $7.6 million class settlement to resolve claims of magazine subscribers for alleged
 statutory privacy violations.

 Rocchio v. Rutgers, The State University of New Jersey, Case No. MID-L-003039-20 (Sup. Ct.
 Middlesex Cnty. 2022) – final approval granted for $5 million class settlement to resolve claims
 for failure to refund mandatory fees for the Spring 2020 semester in light of the COVID-19
 pandemic.

 Heigl v. Waste Management of New York, LLC, Case No. 19-cv-05487-WFK-ST (E.D.N.Y.
 2021) – final approval granted for $2.7 million class settlement to resolve claims for charging
 allegedly unlawful fees pertaining to paper billing.

 Frederick v. Examsoft Worldwide, Inc., Case No. 2021L001116 (Cir. Ct. DuPage Cnty. 2022) –
 final approval granted for $2.25 million class settlement to resolve claims for alleged BIPA
 violations.

                                        ALEC M. LESLIE

         Alec Leslie is a Partner with Bursor & Fisher, P.A. He focuses his practice on consumer
 class actions, employment law disputes, and complex business litigation.

         Alec is admitted to the State Bar of New York and is a member of the bar of the United
 States District Courts for the Southern and Eastern Districts of New York. Alec was a Summer
 Associate with Bursor & Fisher prior to joining the firm.

        Alec received his Juris Doctor from Brooklyn Law School in 2016, graduating cum
 laude. During law school, Alec served as an Articles Editor for Brooklyn Law Review. In
 addition, Alec served as an intern to the Honorable James C. Francis for the Southern District of
 New York and the Honorable Vincent Del Giudice, Supreme Court, Kings County. Alec
 graduated from the University of Colorado with a B.A. in Philosophy in 2012.

                                    Selected Class Settlements:

 Gregorio v. Premier Nutrition Corp., Case No. 17-cv-05987-AT (S.D.N.Y. 2019) – final
 approval granted for class settlement to resolve claims of protein shake purchasers for alleged
 false advertising.

 Wright v. Southern New Hampshire Univ., Case No. 1:20-cv-00609-LM (D.N.H. 2021) – final
 approval granted for class settlement to resolve claims over COVID-19 tuition and fee refunds to
 students.

 Mendoza et al. v. United Industries Corp., Case No. 21PH-CV00670 (Phelps Cnty. Mo. 2021) –
 final approval granted for class settlement to resolve false advertising claims on insect repellent
 products.
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4264           Filed 05/15/24      Page 33
                                             of 42
                                                                                         PAGE 23


 Kaupelis v. Harbor Freight Tools USA, Inc., Case No. 8:19-cv-01203-JVS-DFM (C.D. Cal.
 2021) – final approval granted for class settlement involving allegedly defective and dangerous
 chainsaws.

 Rocchio v. Rutgers Univ., Case No. MID-L-003039-20 (Middlesex Cnty. N.J. 2021) – final
 approval granted for class settlement to resolve claims over COVID-19 fee refunds to students.

 Malone v. Western Digital Corporation, Case No. 5:20-cv-03584-NC (N.D. Cal.) – final
 approval granted for class settlement to resolve false advertising claims on hard drive products.

 Frederick et al. v. ExamSoft Worldwide, Inc., Case No. 2021L001116 (DuPage Cnty. Ill. 2021) –
 final approval granted for class settlement to resolve claims over alleged BIPA violations with
 respect to exam proctoring software.

                                         STEPHEN BECK

       Stephen is an Associate with Bursor & Fisher, P.A. Stephen focuses his practice on
 complex civil litigation and class actions.

         Stephen is admitted to the State Bar of Florida and is a member of the bars of the United
 States District Courts for the Southern and Middle Districts of Florida.

        Stephen received his Juris Doctor from the University of Miami School of Law in 2018.
 During law school, Stephen received an Honors distinction in the Litigation Skills Program and
 was awarded the Honorable Theodore Klein Memorial Scholarship for excellence in written and
 oral advocacy. Stephen also received the CALI Award in Legislation for earning the highest
 grade on the final examination. Stephen graduated from the University of North Florida with a
 B.A. in Philosophy in 2015.

                                   STEFAN BOGDANOVICH

         Stefan Bogdanovich is an Associate with Bursor & Fisher, P.A. Stefan litigates complex
 civil and class actions typically involving privacy, intellectual property, entertainment, and false
 advertising law.

        Prior to working at Bursor & Fisher, Stefan practiced at two national law firms in Los
 Angeles. He helped represent various companies in false advertising and IP infringement cases,
 media companies in defamation cases, and motion picture producers in royalty disputes. He also
 advised corporations and public figures on complying with various privacy and advertising laws
 and regulations.

        Stefan is admitted to the State Bar of California and all of the California Federal District
 Courts. He is also a Certified Information Privacy Professional.

       Stefan received his Juris Doctor from the University of Southern California Gould School
 of Law in 2018, where he was a member of the Hale Moot Court Honors Program and the Trial
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4265            Filed 05/15/24     Page 34
                                             of 42
                                                                                          PAGE 24


 Team. He received the highest grade in his class in three subjects, including First Amendment
 Law.

                                       BRITTANY SCOTT

        Brittany Scott is an Associate with Bursor & Fisher, P.A. Brittany focuses her practice
 on data privacy, complex civil litigation, and consumer class actions. Brittany was an intern with
 Bursor & Fisher prior to joining the firm.

         Brittany has substantial experience litigating consumer class actions, including those
 involving data privacy claims under statutes such as the Illinois Biometric Information Privacy
 Act, the Fair Credit Reporting Act, and the Michigan Preservation of Personal Privacy Act. In
 addition to data privacy claims, Brittany has significant experience in litigating class action
 claims involving false and misleading advertising.

         Brittany is admitted the State Bar of California and is a member of the bars of the United
 States District Courts for the Northern, Central, Southern, and Eastern Districts of California, the
 Eastern District of Wisconsin, the Northern District of Illinois, the Ninth Circuit Court of
 Appeals, the Seventh Circuit Court of Appeals, and Second Circuit Court of Appeals.

         Brittany received her Juris Doctor from the University of California, Hastings College of
 the Law in 2019, graduating cum laude. During law school, Brittany was a member of the
 Constitutional Law Quarterly, for which she was the Executive Notes Editor. Brittany published
 a note in the Constitutional Law Quarterly entitled “Waiving Goodbye to First Amendment
 Protections: First Amendment Waiver by Contract.” Brittany also served as a judicial extern to
 the Honorable Andrew Y.S. Cheng for the San Francisco Superior Court. In 2016, Brittany
 graduated from the University of California Berkeley with a B.A. in Political Science.

                                    Selected Class Settlements:

 Morrissey v. Tula Life, Inc., Case No. 2021L0000646 (Cir. Ct. DuPage Cnty. 2021) – final
 approval granted for $4 million class settlement to resolve claims of cosmetics purchasers for
 alleged false advertising.

 Clarke et al. v. Lemonade Inc., Case No. 2022LA000308 (Cir. Ct. DuPage Cnty. 2022) – final
 approval granted for $4 million class settlement to resolve claims for alleged BIPA violations.

 Whitlock v. Jabil Inc., Case No. 2021CH00626 (Cir. Ct. Cook Cnty. 2022) – final approval
 granted for $995,000 class settlement to resolve claims for alleged BIPA violations.
Case 2:22-cv-00188-HYJ-RSK          ECF No. 75-4, PageID.4266        Filed 05/15/24     Page 35
                                            of 42
                                                                                     PAGE 25


                                       MAX S. ROBERTS

         Max Roberts is an Associate in Bursor & Fisher’s New York office. Max focuses his
 practice on class actions concerning data privacy and consumer protection. Max was a Summer
 Associate with Bursor & Fisher prior to joining the firm and is now Co-Chair of the firm’s
 Appellate Practice Group.

       In 2023, Max was named “Rising Star” in the New York Metro Area by Super
 Lawyers®.

        Max received his Juris Doctor from Fordham University School of Law in 2019,
 graduating cum laude. During law school, Max was a member of Fordham’s Moot Court Board,
 the Brennan Moore Trial Advocates, and the Fordham Urban Law Journal, for which he
 published a note entitled Weaning Drug Manufacturers Off Their Painkiller: Creating an
 Exception to the Learned Intermediary Doctrine in Light of the Opioid Crisis. In addition, Max
 served as an intern to the Honorable Vincent L. Briccetti of the Southern District of New York
 and the Fordham Criminal Defense Clinic. Max graduated from Johns Hopkins University in
 2015 with a B.A. in Political Science.

        Outside of the law, Max is an avid triathlete.
Case 2:22-cv-00188-HYJ-RSK          ECF No. 75-4, PageID.4267           Filed 05/15/24     Page 36
                                            of 42
                                                                                        PAGE 26


                                  Selected Published Decisions:

 Jackson v. Amazon.com, Inc., 65 F.4th 1093 (9th Cir. 2023), affirming district court’s denial of
 motion to compel arbitration. Max personally argued the appeal before the Ninth Circuit, which
 can be viewed here.

 Javier v. Assurance IQ, LLC, 2022 WL 1744107 (9th Cir. May 31, 2022), reversing district court
 and holding that Section 631 of the California Invasion of Privacy Act requires prior consent to
 wiretapping. Max personally argued the appeal before the Ninth Circuit, which can be viewed
 here.

 Mora v. J&M Plating, Inc., 213 N.E.3d 942 (Ill. App. Ct. 2d Dist. 2022), reversing circuit court
 and holding that Section 15(a) of Illinois’ Biometric Information Privacy Act requires an entity
 to establish a retention and deletion schedule for biometric data at the first moment of
 possession. Max personally argued the appeal before the Second District, which can be listened
 to here.

 James v. Walt Disney Co., --- F. Supp. 3d ---, 2023 WL 7392285 (N.D. Cal. Nov. 8, 2023),
 largely denying motion dismiss alleged violations of California and Pennsylvania wiretapping
 statutes.

 Yockey v. Salesforce, Inc., 2023 WL 5519323 (N.D. Cal. Aug. 25, 2023), denying in part motion
 dismiss alleged violations of California and Pennsylvania wiretapping statutes.

 Cristostomo v. New Balance Athletics, Inc., 647 F. Supp. 3d 1 (D. Mass. 2022), denying motion
 to dismiss and motion to strike class allegations in case involving sneakers marketed as “Made in
 the USA.”

 Carroll v. Myriad Genetics, Inc., 2022 WL 16860013 (N.D. Cal. Nov. 9, 2022), denying in part
 motion to dismiss in case involving non-invasive prenatal testing product.

 Louth v. NFL Enterprises LLC, 2022 WL 4130866 (D.R.I. Sept. 12, 2022), denying motion to
 dismiss alleged violations of the Video Privacy Protection Act.

 Soo v. Lorex Corp., 2020 WL 5408117 (N.D. Cal. Sept. 9, 2020), denying defendants’ motion to
 compel arbitration and denying in part motion dismiss consumer protection claims in putative
 class action concerning security cameras.




                                   Selected Class Settlements:

 Sholopa v. Turk Hava Yollari A.O. (d/b/a Turkish Airlines), Case No. 1:20-cv-3294-ALC
 (S.D.N.Y. 2023) – final approval granted for $14.1 million class settlement to resolve claims of
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4268           Filed 05/15/24      Page 37
                                             of 42
                                                                                         PAGE 27


 passengers whose flights with Turkish Airlines were cancelled due to COVID-19 and who did
 not receive refunds.

 Payero v. Mattress Firm, Inc., Case No. 7:21-cv-3061-VB (S.D.N.Y. 2023) – final approval
 granted for $4.9 million class settlement to resolve claims of consumers who purchased allegedly
 defective bed frames.

 Miranda v. Golden Entertainment (NV), Inc., Case No. 2:20-cv-534-AT (D. Nev. 2021) – final
 approval granted for class settlement valued at over $4.5 million to resolve claims of customers
 and employees of casino company stemming from data breach.

 Malone v. Western Digital Corp., Case No. 5:20-cv-3584-NC (N.D. Cal. 2021) – final approval
 granted for class settlement valued at $5.7 million to resolve claims of hard drive purchasers for
 alleged false advertised.

 Frederick v. ExamSoft Worldwide, Inc., Case No. 2021-L-001116 (18th Judicial Circuit Court
 DuPage County, Illinois 2021) – final approval granted for $2.25 million class settlement to
 resolve claims of Illinois students for alleged violations of the Illinois Biometric Information
 Privacy Act.

                                          Bar Admissions

 •   New York State
 •   Southern District of New York
 •   Eastern District of New York
 •   Northern District of New York
 •   Northern District of Illinois
 •   Central District of Illinois
 •   Eastern District of Michigan
 •   District of Colorado
 •   Third Circuit Court of appeals
 •   Seventh Circuit Court of Appeals
 •   Ninth Circuit Court of Appeals




                                      JULIA K. VENDITTI
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4269           Filed 05/15/24      Page 38
                                             of 42
                                                                                         PAGE 28


         Julia Venditti is an Associate with Bursor & Fisher, P.A. Julia focuses her practice on
 complex civil litigation and class actions. Julia was a Summer Associate with Bursor & Fisher
 prior to joining the firm.

         Julia is admitted to the State Bar of California and is a member of the bars of the United
 States District Courts for the Northern, Eastern, Central, and Southern Districts of California.

         Julia received her Juris Doctor in 2020 from the University of California, Hastings
 College of the Law, where she graduated cum laude with two CALI Awards for the highest
 grade in her Evidence and California Community Property classes. During law school, Julia was
 a member of the UC Hastings Moot Court team and competed at the Evans Constitutional Law
 Moot Court Competition, where she finished as a national quarterfinalist and received a best
 brief award. Julia was also inducted into the UC Hastings Honors Society and was awarded Best
 Brief and an Honorable Mention for Best Oral Argument in her First-Year Moot Court section.
 In addition, Julia served as a Research Assistant for her Constitutional Law professor, as a
 Teaching Assistant for Legal Writing & Research, and as a Law Clerk at the San Francisco
 Public Defender’s Office. In 2017, Julia graduated magna cum laude from Baruch
 College/CUNY, Weissman School of Arts and Sciences, with a B.A. in Political Science.

                                       JULIAN DIAMOND

         Julian Diamond is an Associate with Bursor & Fisher, P.A. Julian focuses his practice on
 privacy law and class actions. Julian was a Summer Associate with Bursor & Fisher prior to
 joining the firm.

        Julian received his Juris Doctor from Columbia Law School, where he was a Harlan
 Fiske Stone Scholar. During law school, Julian was Articles Editor for the Columbia Journal of
 Environmental Law. Prior to law school, Julian worked in education. Julian graduated from
 California State University, Fullerton with a B.A. in History and a single subject social science
 teaching credential.

                                      MATTHEW GIRARDI

        Matt Girardi is an Associate with Bursor & Fisher, P.A. Matt focuses his practice on
 complex civil litigation and class actions, and has focused specifically on consumer class actions
 involving product defects, financial misconduct, false advertising, and privacy violations. Matt
 was a Summer Associate with Bursor & Fisher prior to joining the firm.

         Matt is admitted to the State Bar of New York, and is a member of the bars of the United
 States District Courts for the Southern District of New York, the Eastern District of New York,
 and the Eastern District of Michigan

         Matt received his Juris Doctor from Columbia Law School in 2020, where he was a
 Harlan Fiske Stone Scholar. During law school, Matt was the Commentary Editor for the
 Columbia Journal of Tax Law, and represented fledgling businesses for Columbia’s
 Entrepreneurship and Community Development Clinic. In addition, Matt worked as an Honors
 Intern in the Division of Enforcement at the U.S. Securities and Exchange Commission. Prior to
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4270          Filed 05/15/24      Page 39
                                             of 42
                                                                                        PAGE 29


 law school, Matt graduated from Brown University in 2016 with a B.A. in Economics, and
 worked as a Paralegal Specialist at the U.S. Department of Justice in the Antitrust Division.

                                      JENNA GAVENMAN

         Jenna Gavenman is an Associate with Bursor & Fisher, P.A. Jenna focuses her practice
 on complex civil litigation and consumer class actions. Jenna was a Summer Associate and a
 part-time intern with Bursor & Fisher prior to joining the firm as a full-time Associate in
 September 2022.

         Jenna is admitted to the State Bar of California and is a member of the bars of the United
 States District Courts for the Northern, Eastern, Central, and Southern Districts of California.

         Jenna received her Juris Doctor in 2022 from the University of California, Hastings
 College of the Law (now named UC Law SF). During law school, she was awarded an
 Honorable Mention for Best Oral Argument in her First-Year Moot Court section. Jenna also
 participated in both the Medical Legal Partnership for Seniors (MLPS) and the Lawyering for
 Children Practicum at Legal Services for Children—two of UC Hastings’s nationally renowned
 clinical programs. Jenna was awarded the Clinic Award for Outstanding Performance in MLPS
 for her contributions to the clinic. In addition, Jenna volunteered with her law school’s Legal
 Advice and Referral Clinic and as a LevelBar Mentor.

        In 2018, Jenna graduated cum laude from Villanova University with a B.A. in Sociology
 and Spanish (double major). Jenna was a Division I athlete, competing on the Villanova
 Women’s Water Polo varsity team for four consecutive years.

                                         EMILY HORNE

        Emily Horne is an Associate with Bursor & Fisher, P.A. Emily focuses her practice on
 complex civil litigation and consumer class actions. Emily was a Summer Associate with Bursor
 & Fisher prior to joining the firm.

        Emily is admitted to the State Bar of California.

        Emily received her Juris Doctor from the University of California, Hastings College of
 the Law in 2022 (now UC, Law SF). During law school, Emily served as Editor-in-Chief for the
 UC Hastings Communications and Entertainment Law Journal, and she competed on the Moot
 Court team. Emily also served as a judicial extern in the Northern District of California and as a
 Teaching Assistant for Legal Writing & Research. In 2015, Emily graduated from Scripps
 College with a B.A. in Sociology.

                                       IRA ROSENBERG

       Ira Rosenberg is an Associate with Bursor & Fisher, P.A. Ira focuses his practice on
 complex civil litigation and class actions.
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4271           Filed 05/15/24      Page 40
                                             of 42
                                                                                         PAGE 30


         Ira received his Juris Doctor in 2022 from Columbia Law School. During law school, Ira
 served as a Student Honors Legal Intern with Division of Enforcement at the U.S. Securities and
 Exchange Commission. Ira also interned during law school in the Criminal Division at the
 United States Attorney’s Office for the Southern District of New York and with the Investor
 Protection Bureau at the Office of the New York State Attorney General. Ira graduated in 2018
 from Beth Medrash Govoha with a B.A. in Talmudic Studies.

                                   LUKE SIRONSKI-WHITE

           Luke Sironski-White is an Associate with Bursor & Fisher, P.A., focusing on complex
 civil litigation and consumer class actions. Luke joined the firm as a full-time Associate in
 August 2022.

         Luke is admitted to the State Bar of California and is a member of the bars of the United
 States District Courts for the Northern, Eastern, Central, and Southern Districts of California.

         Luke received his Juris Doctor in 2022 from the University of California, Berkeley
 School of Law. During law school, Luke was on the board of the Consumer Advocacy and
 Protection Society (CAPS), edited for the Berkeley Journal of Employment and Labor Law, and
 volunteered with the Prisoner Advocacy Network.

        In 2017, Luke graduated from the University of Chicago with a B.A. in Anthropology.
 Before entering the field of law Luke was a professional photographer and filmmaker.

                                  JONATHAN L. WOLLOCH

         Jonathan L. Wolloch is an Associate with Bursor & Fisher, P.A. Jonathan focuses his
 practice on complex civil litigation and class actions. Jonathan was a Summer Associate with
 Bursor & Fisher prior to joining the firm.

        Jonathan is admitted to the State Bar of Florida and the bars of the United States District
 Courts for the Southern and Middle Districts of Florida.

        Jonathan received his Juris Doctor from the University of Miami School of Law in 2022,
 graduating magna cum laude. During law school, Jonathan served as a judicial intern to the
 Honorable Beth Bloom for the Southern District of Florida. He received two CALI Awards for
 earning the highest grade in his Trusts & Estates and Substantive Criminal Law courses, and he
 was elected to the Order of the Coif. Jonathan was also selected for participation in a semester
 long externship at the Florida Supreme Court, where he served as a judicial extern to the
 Honorable John D. Couriel. In 2018, Jonathan graduated from the University of Michigan with a
 B.A. in Political Science.

                                            INES DIAZ

       Ines Diaz is an Associate with Bursor & Fisher, P.A. Ines focuses her practice on
 complex civil litigation and class actions.
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4272            Filed 05/15/24     Page 41
                                             of 42
                                                                                          PAGE 31


        Ines is admitted to the State Bar of California.

         Ines received her Juris Doctor in 2023 from the University of California, Berkeley School
 of Law. During law school, Ines served as an Executive Editor of the California Law Review.
 She also served as an intern with the East Bay Community Law Center’s Immigration Clinic and
 as a Fellow of the Berkeley Law Academic Skills Program. Additionally, Ines served as an
 instructor with the University of California, Berkeley Extension, Legal Studies Global Access
 Program where she taught legal writing to international law students. In 2021, Ines was selected
 for a summer externship at the California Supreme Court where she served as a judicial extern
 for the Honorable Mariano-Florentino Cuéllar.

                                   CAROLINE C. DONOVAN

         Caroline C. Donovan is an Associate with Bursor & Fisher, P.A. Caroline focuses her
 practice on complex civil litigation, data protection, mass arbitration, and class actions. Caroline
 interned with Bursor & Fisher during her third year of law school before joining full time in Fall
 2023.

        Caroline is admitted to the State Bar of New York.

         Caroline received her Juris Doctor in 2023 from Brooklyn Law School. During law
 school, Caroline was a member of the Moot Court Honor Society Trial Division, where she was
 chosen to serve as a National Team Member. Caroline competed and coached in numerous
 competitions across the country, and placed second at regionals in AAJ’s national competition in
 both her second and third year of law school. Caroline was also the President of the Art Law
 Association, and the Treasurer of the Labor and Employment Law Association.

        During law school, Caroline was a judicial intern for Judge Kenneth W. Chu of the
 National Labor Relations Board. She also interned at the United States Attorney’s Office in the
 Eastern District of New York, as well as a securities class action firm.

                                       JOSHUA B. GLATT

        Joshua Glatt is an Associate with Bursor & Fisher, P.A. Joshua focuses his practice on
 complex civil litigation and consumer class actions. Joshua was a Summer Associate with
 Bursor & Fisher prior to joining the firm as an Associate.

        Joshua earned his Juris Doctor from the University of California College of the Law, San
 Francisco (formerly U.C. Hastings). While there, he received a CALI Award for earning the
 highest grade in Constitutional Law II and served on the executive boards of the Jewish Law
 Students Association and the American Constitution Society. Prior to law school, Joshua
 graduated summa cum laude from the Walter Cronkite School of Journalism and Mass
 Communication at Arizona State University in 2016 and earned a master’s degree from the
 University of Southern California in 2018.



                                      JOSHUA R. WILNER
Case 2:22-cv-00188-HYJ-RSK           ECF No. 75-4, PageID.4273            Filed 05/15/24      Page 42
                                             of 42
                                                                                          PAGE 32


       Joshua Wilner is an Associate with Bursor & Fisher, P.A. Joshua focuses his practice on
 complex civil litigation, data privacy, consumer protection, and class actions. Joshua was a
 Summer Associate at Bursor & Fisher prior to joining the firm full time in Fall 2023.

        Joshua is admitted to the State Bar of California.

        Joshua received his Juris Doctor in 2023 from Berkeley Law. During law school, he
 received the American Jurisprudence Award for Constitutional Law.

         During law school, Joshua served on the board of the Berkeley Journal of Employment
 and Labor Law. Joshua also interned at Disability Rights California, Legal Aid at Work, and a
 private firm that worked closely with the ACLU of Northern California to enforce the California
 Racial Justice Act. In 2022 and 2023, Joshua worked as a research assistant for Professor Abbye
 Atkinson.

                                        VICTORIA ZHOU

        Victoria Zhou is an Associate in Bursor & Fisher’s New York office. Victoria focuses
 her practice on class actions concerning data privacy and consumer protection.

        Victoria is admitted to the State Bar of New York.

         Victoria received her Juris Doctor from Fordham Law School in 2023. During law
 school, Victoria served as an Associate Editor of the Moot Court Board and competed in
 multiple mock trial competitions as a member of the Brendan Moore Trial Advocates. In
 addition, Victoria served as a judicial extern to Chief Judge Mark A. Barnett of the United States
 Court of International Trade. In 2019, Victoria graduated magna cum laude from Fei Tian
 College with a B.F.A. in Classical Dance.

                                        KYLE D. GORDON

        Kyle Gordon is a Law Clerk with Bursor & Fisher, P.A. who is interested in data privacy
 and consumer class actions. Kyle was a Summer Associate prior to joining the firm

        Kyle passed the July 2023 New York State Bar Examination and will be applying to the
 State Bar of New York.

         Kyle received his Juris Doctor from Columbia Law School in 2023, where he was a
 Harlan Fiske Stone Scholar. During law school, Kyle was a Staff Editor for the Columbia
 Science and Technology Law Review. In 2020, Kyle graduated summa cum laude from New
 York University with a B.A. in Politics and became a member of Phi Beta Kappa. Prior to law
 school, Kyle interned in the Clerk’s Office of the United States District Court for the District of
 Columbia.
